     Case: 1:22-cv-03861 Document #: 9 Filed: 09/21/22 Page 1 of 4 PageID #:223




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 FRED L. NANCE, Jr.,                               )
                                                   )
                                Plaintiff,         )
                                                   )    No. 22 C 3861
                        v.                         )
                                                   )    Judge Alonso
 UNITED STATES, et al.,                            )
                                                   )
                                Defendants.        )


              Notice to Unrepresented Litigants Opposing Summary Judgment
        The defendant has moved for summary judgment against you. That makes the defendant
the “movant” and you the “nonmovant.” By moving for summary judgment, the defendant is
arguing to the judge that there is no need for a trial because: (1) there is no legitimate disagreement
about the important facts of the case; and (2) applying the law to those facts, the defendant wins.
The defendant may move for partial summary judgment (meaning only as to some of the claims
or issues raised by your complaint) or for summary judgment on all claims.
When moving for summary judgment, the defendant must serve on you and file:
(1) a statement of facts, which is a list of the facts the defendant thinks are true and undisputed;
(2) the evidence that supports those facts; and
(3) a memorandum of law that makes a legal argument about why the defendant wins based on
the law and the facts.
There are rules that both lawyers and people without lawyers must follow in moving for or
opposing summary judgment. If you do not follow the rules, then the judge may not consider your
facts or your arguments.
This notice is meant to help explain the summary judgment process to you. If you have more
questions, you can visit the United States District Court for the Northern District of Illinois’s
Clerk’s Office on the 20th floor of the Everett McKinley Dirksen U.S. Courthouse, 219 S.
Dearborn, Chicago, Illinois 60604, and ask about the William J. Hibbler Memorial Pro Se
Assistance Program. You can also make an appointment with the program online. This program
cannot provide you with a lawyer but can answer certain procedural questions about opposing
summary judgment.
         Case: 1:22-cv-03861 Document #: 9 Filed: 09/21/22 Page 2 of 4 PageID #:224




What You Must File
To respond to the summary judgment motion, you must file, as separate documents:
·        a response to the defendant’s statement of material facts (see Section I);
·     a statement of additional facts, if you want the judge to consider facts not included in the
defendant’s statement of material facts or your response to the defendant’s statement (see Section
II);
·      the evidentiary material that supports your response to the defendant’s statement of facts
and any statement of additional facts (the material should be labeled as exhibits); and
·     a memorandum of law that explains why the defendant is not entitled to summary judgment
based on the facts and the law (see Section III).
More details about these documents are below. If you do not respond to the defendant’s summary
judgment motion by the deadline the judge gives you, the judge may rule on the motion based
solely on what the defendant has to say. Even if you file your own summary judgment motion, you
still must respond to the defendant’s summary judgment motion.
    I.      Response to Defendant’s Statement of Facts
The defendant has listed what it thinks are undisputed facts in a series of short paragraphs. This
document is called a “statement of facts.” For each fact, the defendant must point to evidence—
such as affidavits, deposition transcripts, recordings, and other documents—that the fact is true.
You must respond to each of the defendant’s facts, paragraph by paragraph. If you do not respond
to a fact asserted by the defendant, the judge may decide that you have admitted that the fact is
true. Here is how you can respond to a fact asserted by the defendant:
(a) Admit it.
If you agree with a fact, write “Admitted.” If you admit a fact in your response, you cannot later
deny that fact in your statement of additional facts or in your legal argument.
(b) Dispute it.
If you think that a fact is not supported by the evidentiary material cited by the defendant, you
should write “Disputed” and then briefly explain why you dispute the fact and cite the specific
page(s) of evidence that supports your position.
If your response cites evidence that the defendant did not submit, you must include that additional
evidence in an appendix filed and served along with your response.
For example, if the defendant asserts that the traffic light was red at a particular time and supports
that assertion with an affidavit, and if you believe that the light was green at that time, you can
dispute the asserted fact and cite to evidentiary material (such as an affidavit, declaration, or
deposition testimony) that supports your view that the light was green.


                                                   2
       Case: 1:22-cv-03861 Document #: 9 Filed: 09/21/22 Page 3 of 4 PageID #:225




(c) Object to evidence that the defendant submitted.
If you would like to object to a particular piece of evidence cited in the defendant’s statement of
facts—for example, because it is not relevant or is hearsay—you should briefly explain your
objection. When addressing facts, the memorandum must cite directly to specific paragraphs in the
LR 56.1 statements or responses. If you both disagree with a fact and object to the evidence that
the defendant cites to support that fact, then your response to that fact should explain both your
denial of the fact and your objection. If you object to the defendant’s evidence but do not deny the
fact, and the judge overrules your objection, then the judge may consider you to have admitted the
fact.
Do not include these things in your response to statements of fact:
·     New facts. To state new facts, meaning facts that are not fairly responsive to the defendant’s
asserted facts, list them in your separate statement of additional fact (see Section II).
·     Legal arguments. Legal arguments must be made in your brief (see Section III). The one
exception is for arguments in support of legal objections (for example, hearsay) to the evidentiary
material cited by the defendant.
For help formatting your response to the defendant’s statement of facts, see the Local Rule 56.1
examples on the court’s website.
 II.     Statement of Additional Facts
If you want the judge to consider new facts—meaning facts other than those in the defendant’s
statement of facts or your response to the statement of facts—you must submit a statement of
additional facts as a separate document from your response to the defendant’s statement. If you do
not submit a statement of additional facts, the judge may consider only the asserted facts in the
defendant’s statement of facts and any facts in your response to the defendant’s statement of facts
that are fairly responsive to the defendant’s asserted facts.
Your statement of additional facts should be organized into short, numbered paragraphs with no
more than one fact in each paragraph. Unless you get permission from the judge, your statement
of additional facts must not have more than 40 numbered paragraphs.
You must support each fact with a citation to a specific piece of evidence that supports it. For
example, you might cite a particular page of a deposition transcript, a particular paragraph of an
affidavit, or a timestamp on a recording. You can cite the evidence that the defendant submitted
with its statement of material facts to support your statement of additional facts. You can also cite
your own evidence that the defendant did not submit, but you must file and serve that evidence
along with your statement of additional facts.
If you want to submit evidence of your own testimony (other than a deposition transcript), you
should prepare an affidavit or declaration, which sets forth facts you know to be true based on your
personal knowledge. An affidavit must be signed and notarized, while a declaration must be signed
and include the following language from 28 U.S.C. § 1746: “I declare under penalty of perjury
that the foregoing is true and correct. Executed on [insert date]. [Signature].”

                                                 3
       Case: 1:22-cv-03861 Document #: 9 Filed: 09/21/22 Page 4 of 4 PageID #:226




For help formatting your statement of additional facts, see the Local Rule 56.1 examples on the
court’s website. The defendant will have an opportunity to respond to your statement of additional
facts.
III.     Memorandum of Law
The defendant has submitted a legal memorandum explaining why it should win the case on
summary judgment based on its statement of facts and governing law. You must answer that brief
by filing a memorandum that responds to the defendant’s arguments and explains why the
defendant should not win the case on summary judgment. Your memorandum should be separate
from your response to the defendant’s statement of facts and your statement of additional facts.
Your memorandum should explain why the defendant is not entitled to summary judgment. If you
do not make a legal argument in your memorandum, you may lose the opportunity to make that
argument on appeal. You can argue that because you and the defendant disagree on important
facts, there needs to be a trial to decide which of you is right about those facts. You can also explain
why the defendant’s legal arguments are wrong based on the law or based on the facts that you
disputed in your response and/or that you included in your statement of additional facts.
IV. Federal Rule of Civil Procedure 56 and Local Rule 56.1
Summary judgment is governed by Federal Rule of Civil Procedure 56, and the United States
District Court for the Northern District of Illinois also has a Local Rule 56.1. Local Rule 56.1(a)
explains what someone seeking summary judgment must submit, and Local Rule 56.1(b) explains
what you need to do to oppose summary judgment.
Reading this Notice is not a substitute for reviewing Rule 56 and Local Rule 56.1. You should be
familiar with Rule 56 and Local Rule 56.1 before you prepare your opposition to summary
judgment. You should also review the Local Rule 56.1 examples on the court’s website.




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